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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

FORESTAL GUARANI S.A.,
Plaintiff,
Vv.
DAROS INTERNATIONAL, INC.,

Defendant.

 

 

CIVIL ACTION No: 03 cv 4821
Hon. Joseph A. Greenaway, Jr.,
U.S.D.J.

Hon. G. Donald Haneke,
U.S.M.Jd.

 

DEFENDANT’S BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

 

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PRELIMINARY STATEMENT

 

Plaintiff Forestal Guarani S.A. (“Forestal”) is an
Argentinean lumber company that has asserted a breach of
contract claim against Defendant Daros International, Inc.
(“Daros”) for payment of $419,553.71 for wooden finger-joints
allegedly sold to Daros for re-sale in the United States. Now
that discovery has closed, Daros has confirmed what it has
always known -- Forestal’s claim lacks legal substance.
Forestal’s breach of contract claim is not supported by a
written contract between the parties. The absence of a written
contract is fatal to Forestal’s claim.

Not only has Forestal admitted the absence of a written
contract covering the sale of the goods at issue, but at each
turn, Forestal has frustrated Daros’s efforts to obtain
discovery concerning the underpinnings of Forestal’s claim.
Despite having multiple opportunities to respond to clear and
unambiguous discovery requests, Forestal has flaunted its
discovery obligations and refused to produce to Daros the books
and records that evidence the alleged amounts due and owing from
Daros. The only documents produced by Forestal to substantiate
its claim are a series of unsigned invoices. Forestal’s entire
claim rests on these invoices and a deficient certification from

Forestal’s in-house accountant that does not identify what
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invoices are unpaid, due and owing. The evidence produced by
Forestal is insufficient to establish a prima facie claim for
breach of contract and/or establish that the amount claimed is

owed by Daros.

This matter is ripe for summary judgment. Not only is
there no written contract between the parties, but Forestal has
otherwise wholly failed to support its damages claim and justify

presenting this matter to a jury.

PROCEDURAL HISTORY

 

Daros removed this matter to federal court on or about
October 24, 2003, on the basis of federal question jurisdiction
pursuant to the United Nations Convention on Contracts for the
International Sale of Goods, 15 U.S.C. App., International
Contracts, Art. I (the “CISG”). See {2 of the Certification of
Daniel Mateo, Esq. (“Mateo Cert.”), filed herewith. After
answering the Complaint, Daros served Plaintiff with
Interrogatories and a Request for Production of Documents.

Among the items Daros requested of Forestal were:

e Any information regarding the terms and conditions of
the contract alleged in the Complaint and any
documents that evidence the alleged contract. See
Mateo Cert., 3;

e All documents, including but not limited to book
accounts, balance sheets and invoices, evidencing all
amounts allegedly due from Daros to Forestal under the
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alleged contract and evidencing what payments have
been made. See Mateo Cert., 3;

e All documents evidencing any written or oral request
for payment made by Forestal, as alleged in paragraph
4 of the Complaint. See Mateo Cert., {3;

e All documents evidencing all payments made from Daros
to Forestal, including but not limited to copies of
all canceled checks, copies of bank statements showing
each such payment and any receipts evidencing such
payments. See Mateo Cert., 93; and

e Forestal's calculation of damages and any documents
that set forth that calculation. See Mateo Cert., {3.

Forestal failed to timely and adequately respond to Daros’s
discovery requests, requiring the Honorable G. Donald Haneke to
enter an Order on June 7, 2004, mandating that Forestal fully
respond to Daros’s Interrogatories and Document Requests by June
18, 2004. See Mateo Cert., 974. Forestal did not respond until
June 30, 2004,--nearly two weeks after it was ordered to do so--
and its responses were incomplete, improper and not certified as
required by Federal Rule of Civil Procedure 33(b) (2). See Mateo

Cert., 95.

Due to Forestal’s repeated discovery deficiencies, on
October 5, 2004, this Court ordered Forestal to pay Daros
$5,037.69 in discovery sanctions and gave Forestal yet another
opportunity to respond to Daros’s discovery requests. See Mateo
Cert., 96. To date, however, Forestal has yet to fully respond

to Daros’s Document Requests in that:
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e Forestal has not produced any written contract to
support its breach of contract claim;

e Forestal has not produced any documents that show
proof of payment, request for payment or responses to
requests for payment; and

e Aside from invoices, Forestal has not produced any
documents that form the basis of the Certification of
accountant Gricelda Beatriz Zanek, upon whose
Certification Forestal bases its damages claim.

See Mateo Cert., 7.

Unable to substantiate Forestal’s claims through the
documents produced in discovery, Daros noticed depositions
pursuant to Federal Rule of Civil Procedure 30(b) (6). The
30(b) (6) depositions requested, in relevant part, that Forestal
produce one or more corporate representatives with knowledge of

the following information:

e Forestal’s relationship with Daros;

e Forestal’s corporate accounting practices, accounts
payable and accounts receivable;

e Any communications, contracts, invoices, requests for
payment or other documents exchanged with Daros;

e Payments received from Daros on the alleged contract;
e The damages Forestal seeks in this matter from Daros.

See Mateo Cert., 18.

Additionally, as part of Daros’s 30(b) (6) deposition
notice, Daros requested that Forestal produce certain documents,
including Forestal’s book accounts and balance sheets, documents
evidencing Forestal’s receipt of all money and/or payments from

Daros (including receipt of all wire transfers from Daros) and
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documents evidencing Forestal’s calculation of the amount it
alleges Daros owes. See Mateo Cert., 9.

In response to the 30(b) (6) deposition notices, Forestal
identified Pedro Juan Lopez Vinader (“P. Vinader”), Christian
Lamiaux (“Lamiaux”) and Maria Elena Lopez Vinader (“M. Vinader”)
as corporate representatives with information concerning the
categories contained in the notice. See Mateo Cert., Q10. P.
Vinader is the President of Forestal’s Board of Directors and
Forestal’s Chief Executive Officer. See transcript of P.
Vinader deposition, attached as Exhibit A to Mateo Cert., 10:17-
19, 90:10-12. lLamiaux is part of Forestal’s staff, and was
responsible for coordinating and generating the invoices sent
from Forestal to Daros, including overseeing the contents of
those invoices. See transcript of Lamiaux deposition, attached
as Exhibit B to Mateo Cert., 120:18-20, 122:16-23, 126:5-25;
127:1-4, 169:1-7. M. Vinader has worked as an independent
contractor for Forestal from 2000 to the present and was
responsible for handling Forestal’s business transactions in the
United States from 2000 through 2003. See transcript of M.
Vinader deposition, attached as Exhibit C to Mateo Cert., 22:15-
19, 23:12-17. However, only P. Vinader and Lamiaux testified
that they had the authority to testify as corporate

representatives. See Mateo Cert., Exhibit A, 10:4-16; Exhibit

B, 20:15-22. Further, Gricelda Beatriz Zanek, the accountant
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who allegedly reviewed Forestal’s books and created a financial
report upon which Forestal bases its claim, was not offered or
made available as a 30(b) (6) witness. See Mateo Cert., 14.
Despite three days of depositions, Forestal’s claims remain

unsubstantiated.

Daros now moves for summary judgment with respect to the

purported claims asserted in Forestal’s Complaint.

STATEMENT OF MATERIAL FACTS

 

Forestal is an Argentinean corporation with its principal
place of business in Misiones, Argentina. Forestal is involved
in the manufacture and sale of lumber products. See Complaint,

Introductory Paragraph, fl. In particular, Forestal sells

wooden finger-joints.1 See Mateo Cert., Exhibit B, 55:6-8. To
assist in the production of the finger-joints, Forestal entered
into a business partnership with Fiyoint S.A. (“Fiyoint”),
another Argentinean company, pursuant to which Forestal provided
Fiyoint with unfinished wood and investment capital. See Mateo
Cert., Exhibit A, 36:16-25, 37:1-2; Exhibit B, 43:11-16, 44:6-

11. Fiyoint in turn used its know-how, machinery and

manufacturing facility to process the raw material into finger-

 

I Finger-jointing is a wood processing technique that
consists of cutting finger profiles into the ends of wood
pieces, and joining them into longer pieces with an
adhesive.
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joints. See Mateo Cert., Exhibit B, 43:11-25, 44:1-11. Daros,
a New Jersey based import-export company, helped commercialize
and sell the finger-joints to third-party purchasers in the
United States since neither Finyoint nor Forestal had any
presence in the United States. See Mateo Cert., Exhibit A,
51:8-13.

Forestal now asserts a breach of contract claim against
Daros, alleging that Daros has failed to pay certain invoices
totaling $419,553.71. See Complaint, 95. Forestal alleges that
it shipped finger-joints to Daros valued at $1,857,766.06. See
Complaint, 74. Forestal alleges that Daros has only paid
$1,458,212.35, leaving a balance due of $419,553.71. See

Complaint, 95. Despite its allegations, Forestal has not and

cannot dispute several material facts. Namely:

e This matter deals with an international transaction for the
sale of goods. See Complaint, generally.

e Both Argentina and the United States are signatories to the
United Nations Convention on Contracts for the
International Sale of Goods. 15 U.S.C.A. App., nl.

e There is no written contract between Forestal and Daros.
See Mateo Cert., Exhibit A, 68:14-24; 152:11-14; Exhibit B,
35:9-13; Exhibit C, 106:23-25, 107:1.

e Forestal has not identified which invoices are unpaid. See
Mateo Cert., Exhibit B, 261:21-25.

e None of the invoices are signed by Daros.
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Forestal has not produced any purchase orders, upon which
the invoices allegedly are based. See Mateo Cert., Exhibit
B, 256:25, 257:1-9.

Forestal bases its claim for $419,553.71 37 on the invoices
produced and on the certification of Argentinean accountant
Gricelda Beatriz Zanek (“Zanek Certification”). See Mateo
Cert., Exhibit A, 129:7-15; Exhibit B, 262:22-25, 263:1-9.
The Zanek Certification admittedly failed to consider all
of the relevant information. See Mateo Cert., Exhibit B,
205:10-14, 208:22-25, 209:1-2; Expert Report of Allen J.
Genaldi (“Genaldi Expert Report”), filed herewith.
Specifically, the Zanek Certification notes that it did not
consider, in its analysis of Forestal’s financial records,
all of the relevant data regarding Forestal’s sales to the
external market. See B.2 of Certified Translation of Zanek
Certification, attached as Exhibit D to Mateo Cert.
Forestal alleges that Daros is a an external market
customer. See Complaint, generally. Thus, the basis of
Forestal’s claim rests on incomplete information and faulty
calculations.

Aside from invoices, the books and records reviewed by
Gricelda Beatriz Zanek (“Zanek”) have not been produced in
response to Daros’s discovery requests. See Mateo Cert.,
qis.

Zanek was disqualified as a witness by an Argentinean
court, which found that Zanek could not serve as an
impartial witness. See Certified Translation of May 5,
2004 Argentinean Court’s Order disqualifying Zanek as a
witness, attached as Exhibit F to Mateo Cert.

Accordinely, Daros now requests that this Court grant its

motion for summary judgment.
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LEGAL ARGUMENT

THE SUMMARY JUDGMENT STANDARD

 

Rule 56 (c) of the Federal Rules of Civil Procedure governs
the standard to be employed by courts when addressing summary
judgment motions. Pursuant to Rule 56 (c), summary judgment is
appropriate “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to
any material fact and that the moving party is entitled toa

judgment as a matter of law.” Fed. R. Civ. P. 56 (c); see also

 

Gottshall v. Consolidated Rail Corp., 56 F.3d 530, 533 (3d Cir.

 

1995). A dispute is genuine “‘if the evidence is such that a
reasonable jury could return a verdict for the nonmoving

party.’” Connors v. Fawn Mining Corp., 30 F.3d 483, 489 (3d

 

Cir. 1994) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.

 

242, 248, 106 S. Ct. 2505, 2510, 91 L. Ed. 2d 202 (1986)).
Further, “[a] fact is material when it might affect the
outcome of the suit under the governing law.” Connors, 30 F.3d
at 489. “The moving party has the initial burden of informing
the court of the basis for a motion of summary judgment and
pointing out those parts of the record which he or she believes
demonstrate the absence of a genuine issue of material fact.”

Id. However, “if the moving party can satisfy [its] initial
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burden, the nonmoving party ‘may not rest upon the mere

allegations or denials of [its] pleadings, but [its] response
must set forth specific facts showing that there is a

genuine issue for trial.’” Id. (quoting Gans v. Mundy, 762 F.2d

338, 341 (3d Cir.)); see also Quiroga v. Hasbro, Inc., 934 F.2d

 

497, 500 (3d Cir. 1991) (declaring that non-movant may not "rest
upon mere allegations, general denials, or...vague statements").
Thus, if the non-movant's evidence is merely "colorable" or is
"not significantly probative," the court may grant summary
judgment.

POINT I

DAROS IS ENTITLED TO SUMMARY JUDGMENT BECAUSE THERE IS
NO WRITTEN CONTRACT BETWEEN THE PARTIES.

Forestal has asserted a breach of contract claim arising

out of its alleged sale of goods - in this case, finger-joints —
to Daros. In most of the United States, the sale of goods is
generally governed by the Uniform Commercial Code (“UCC”). It

is well-settled under the UCC that a contract for the sale of
goods valued at more than $500 must be in writing. See N.J.S.A.
12A:2-201. While the alleged transaction between Forestal and
Daros involves the sale of goods, it is not governed by the UCC.
Instead, the transaction giving rise to Forestal’s Complaint is
governed by the United Nations Convention on Contracts for the

International Sale of Goods ("CISG" or the "Treaty"), codified

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at 15 U.S.C. Appendix (West Supp. 1991). The absence of a
written contract under the CISG, as adopted by Argentina,
entitles Daros to summary judgment on Forestal’s breach of
contract claim.

A. Background On The CISG.

The CISG is an international treaty that became effective
between the United States and 10 other countries on Jan. 1,
1988. See 15 U.S.C. Appendix (West Supp. 1991). Today, the
CISG boasts 65 signatory nations. See CISG: Table of
Contracting States (last updated March 10, 2005)

<http://www.cisg.law.pace.edu/cisg/countries/cntries.html.>

 

Extremely broad in scope, the CISG’s rules - unless the parties
agree otherwise in writing - govern all issues of contract
formation and performance of international contracts for the
sale of goods between merchants of signatory states. See U.S.
Ratification of 1980 United Nations Convention on Contracts for
the International Sale of Goods: Official English Text, 15

U.S.C.App.

The CISG has been hailed as an "international Uniform
Commercial Code capable of reducing international transaction
costs and bringing unity to an extremely disorganized branch of

law." See Rod N. Andreason, MCC-Marble Ceramic Center: The

 

Parol Evidence Rule and Other Domestic Law Under the Convention

 

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on Contracts for the International Sale of Goods, Brigham Young

 

L. Rev. 350, 351 (1999). Since Canada, Mexico, and most of the
larger European nations have also adopted the CISG, the CISG
governs a majority of all foreign transactions conducted by the
United States. See U.S. Dept of Com., Statistical Abstract of
the United States 1997, at 803-06 (117° ed. 1997). In addition,
some countries have adopted the CISG as their domestic sales
law. See Peter Winship, Domesticating International Commercial
Law: Revising U.C.C. Article 2 in Light of the United Nations
Sales Convention, 37 LOY.L.REV. 43, 46 (1991). Further, in the
United States, the Permanent Editorial Board for the Uniform
Commercial Code has used the Convention as a constructive model
for reforming the UCC. See Andreason, Brigham Young L. Rev. at

351.

The purpose of drafting the CISG was to create a framework
or uniform set of rules to govern international sales contracts.
See U.S. Ratification of 1980 United Nations Convention on
Contracts for the International Sale of Goods: Official English
Text, 15 U.S.C.A. App. As Secretary of State George Schultz
wrote to President Ronald Reagan in recommending ratification of

the convention:

Sales transactions that cross
international boundaries are subject to
legal uncertainty - doubt as to which legal

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system will apply and the difficulty of
coping with unfamiliar foreign law. The
sales contract may specify which law will
apply, but our sellers and buyers cannot
expect that foreign trading partners will
always agree on the applicability of United
States law. Insistence by both parties on
this sensitive point can prolong) and
jeopardize the making of the contract.

The Convention’s approach provides an
effective solution for this difficult

problem. When a contract for an
international sale of goods does not make
clear what rule of law applies, the

Convention provides uniform rules to govern
the questions that arise in the making and
performance of the contract.

{Letter of Submittal (Aug. 30, 1983), reprinted at 15

U.S.C. Appendix at 364 (West 1998) .]

In short, the CISG governs virtually all sales transactions
“between parties whose places of business are in different”

Signatory States. See Andreason, Brigham Young L. Rev. at 351.

Indeed, a signatory's assent to the CISG “necessarily

incorporates the CISG as part of that nation's domestic law.”

BP Oil Int'l, Ltd. v. Empresa Estatal Petroleos de Ecuador, 332

 

F.3d 333, 337 (5th Cir. 2003).

B. The CISG Governs This Dispute.
The CISG applies to “all contracts [for the sale of goods]

between parties with places of business in different nations, so

long as both nations are signatories to the [CISG].” See

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Filanto S.P.A. v. Chilewich Int’l Corp., 789 F.Supp. 1229, 1237

 

(S.D.N.Y. 1992); U.S. Ratification of 1980 United Nations

Convention on Contracts for the International Sale of Goods:

Official English Text, 15 U.S.C.A. App.2 Not only are the United
States and Argentina both signatories to the CISG, but the
Complaint here arises out of an alleged sale of goods by
Forestal, an Argentinean company, to Daros, an entity with its
principal place of business in the State of New Jersey. See
Complaint, G2 1, 2. Thus, the CISG governs this dispute.

Cc. The CISG Preempts Forestal's State Common Law Breach of
Contract Claim.

The CISG establishes "substantive provisions of law to
govern the formation of international sales contracts and the
rights and obligations of the buyer and the seller." See U.S.
Ratification of 1980 United Nations Convention on Contracts for
the International Sale of Goods: Official English Text, 15
U.S.C.A. App. Where, as here, a contractual dispute between
parties is governed by the CISG, that Treaty preempts any state
law that would otherwise govern the action. Asante

Technologies, Inc. v. PMC-Sierra, Inc., 164 F.Supp.2d 1142, 1147

 

(N.D.Cal. 2001) (holding that the CISG preempted plaintiff's

state law claims for breach of contract); Filanto S.P.A. v.

 

 

2 To date, there is no reported New Jersey or Third Circuit
case law interpreting the CISG.

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Chilewick Int’l Corp., 789 F.Supp. 1229, 1237 (S.D.N.Y.

 

1992) (noting that the CISG is considered "state law" because the
"treaties of the United States are as much a part of the law of
every state as its own local laws and Constitution.") (internal
citation omitted).

Accordingly, Forestal’s state law breach of contract claim
is preempted by the CISG and must, therefore, be analyzed under
the CISG.

D. The CISG, As Adopted and Modified by Argentina, Requires
a Contract for The Sale of Goods To Be In Writing.

Article 11 of the CISG provides that “[a] contract of sale
need not be concluded or evidenced by writing and is not subject
to any other requirement as to form. It may be proved by any
means, including witnesses.” The CISG, however, allowed its
signatories to opt-out of certain provisions of the Treaty,
including Article 11. See 15 U.S.C.A. App., Art. 95.3 Argentina

chose to opt out of Article 11, which allows for the enforcement

of oral contracts of sale. See 15 U.S.C.A. App., n.1. Thus, as

 

3 Specifically, Article 96 provides , in relevant part:

A Contracting State whose legislation requires contracts of
sale to be concluded in or evidenced by writing may at any
time make a declaration...that any provision of Article
11...0of this Convention, that allows a contract of sale or
its modification or termination by agreement or any offer,
acceptance, or other indication of intention to be made in
any form other than in writing, does not apply where any
party has his place of business in that State. 15 U.S.C.A.
App., Art. 96.

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ratified by Argentina, the CISG provides that “a contract of
sale . . . to be made in any form other than in writing does not
apply where any party has [its] place of business in the
Argentinean Republic.” See 15 U.S.C.A. App., n.1. (emphasis
added). Since Forestal’s principal and only place of business
is in Argentina, the CISG expressly requires that a contract of
sale with an Argentinean entity be in writing.

Here, it is undisputed that no written contract exists
between the parties as required by Argentina’s ratification of
the CISG. In fact, all three witnesses produced by Forestal
testified as to the non-existence of any written contract
between the parties:

Question: Was this agreement that you've been

testifying to between Daros and Forestal Guarani

memorialized in a written document?

P. Vinader Answer: We never signed anything.

Question: Not a written. contract?
P. Vinader Answer: No.
See Mateo Cert., Exhibit A, 68: 14-24.

Question: Was that relationship ever formalized in any
written document that formalizes the relationship?

Lamiaux Answer: The only document is the verbal

agreement.

See Mateo Cert., Exhibit B, 35:9-13.

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Question: Do you know if there was any written
contract between Forestal Guarani and Daros regarding
their relationship?

M. Vinader Answer: I don't think so.

See Mateo Cert., Exhibit C, 106:23-25, 107:1.

The absence of a written contract violates the CISG as
ratified by Argentina. Forestal's claim for breach of contract
is, thus, preempted and barred by the CISG. The Court should,
therefore, grant Daros’s motion for summary judgment as a matter

of law.

POINT II
FORESTAL HAS FAILED TO PRODUCE ANY CREDIBLE

EVIDENCE TO SUBSTANTIATE ITS CLAIM.

Although the absence of a written contract under the
Argentinean version of the CISG is sufficient by itself to bar
Forestal’s breach of contract claim, Forestal has, in addition,
failed to produce any credible, probative evidence to otherwise
establish a claim for breach of contract. Despite repeated
requests for discovery, Forestal’s document production consists
primarily of the unsigned invoices it sent to Daros. See Mateo
Cert., 915. These invoices are not accompanied by purchase
orders, do not reference purchase orders and are not supported
by even the most basic accounting documents or business records.

See Mateo Cert., 416, Exhibit E. Instead, Forestal’s case is

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based on a certification of an Argentinean accountant who
apparently reviewed some of Forestal’s documents and concluded,

without more, that there is an amount due of $419,553.71.
A. The Invoices Produced Do Not Establish A Contract.

The invoices produced by Forestal in support of its claim
for alleged monies owed do not establish a contract. In
particular, all of the invoices produced by Forestal are
unsigned, were created unilaterally by Forestal, do not contain
language evidencing, either explicitly or implicitly, that the
invoices reflect the parties' final agreement, and all note the
term of payment as "contado."4 See Mateo Cert., Exhibit E. In
fact, Forestal's reliance on invoices noting the term of payment
as "contado" alone undermines its claim for monies owed, as
"contado" signifies that Daros paid for the goods upon receipt.
Consequently, the invoices do not establish a written agreement
between the parties and suggest that payment was made at the
time the goods were delivered.

Further, the invoices at issue would not establish a
written contract under our domestic law. Although domestic law

in contradiction with the CISG should not be applied when the

 

4 Payments made in the form of "contado" are payments made at
the time of purchase. See BUTTERWORTHS SPANISH/ENGLISH LEGAL
Dictionary, Lexis Law Publishers, 1991. In common parlance,
“contado” means C.0O.D. (cash on delivery), i.e. no goods
delivered until payment is received.

 

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CISG preempts the matter, domestic law not in contradiction with

the CISG's text or principles may have some relevance. See MCC-

 

Marble Ceramic Ctr. v. Ceramic Nuova d'Agostino, S.p.A., 144

 

F.3d 1384, 1391 (11th Cir. 1998) (noting that courts "applying
the CISG cannot...upset the parties's reliance on the [CISG] by
substituting familiar principles of domestic law when the [CISG]
requires a different result") (emphasis added); Andreason,
Brigham Young L. Rev., at 372.

Under New Jersey law, unsigned invoices that do not
evidence a final agreement between the parties have been held
insufficient to satisfy the Statute of Fraud’s writing

reguirement. For example, in Michael Halebian N.J., Inc. v.

 

Roppe Rubber Corp., 718 F.Supp. 348 (D.N.J. 1989), plaintiff

 

distributor of commercial products sued defendant manufacturer
alleging, among other things, breach of contract. Defendant
asserted that the parties had not entered into an enforceable
contract. Id. at 362-63. Plaintiff sought to establish a
written contract by introducing an unsigned purchase order and
invoice for the sale of goods. Id. at 363. The United States
District Court for the District of New Jersey held that the
purchase order and invoice did not satisfy the Statute of
Frauds, as the documents "are not writings in confirmation of
the contract, do not indicate that an agreement had been entered

into between the parties and [lacked] the signature of the party

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to be charged." Id. at 364.

Similarly, in Huyler Paper Stock Company v. Information

 

Supplies Corporation, 117 N.J. Super. 353, 356 (L. Div. 1971),

 

plaintiff engaged in the purchase and sale of paper waste and
scrap. Plaintiff's business was "highly competitive" and it was
not customary in the trade to have written contracts with the
sellers of the paper waste. Id. at 356. Defendant was engaged
in the business of processing data information cards, which
business generated a substantial quantity of paper scrap. Id.
Plaintiff entered into an oral agreement, whereby plaintiff
would purchase and install a paper baling press at defendant's
plant, and defendant would pay for the baler in the form of a
credit to plaintiff against the sales price of the waste which
defendant sold to plaintiff. Id. at 357. Defendant also agreed
to sell all of its paper waste to plaintiff for a period of two
years from the time the baler was installed. Id.

Subsequently, defendant refused to continue selling to
plaintiff. Id. at 358. Plaintiff sued for defendant's breach
of the oral agreement to sell its paper waste to plaintiff for a
period of two years. Id. Finding that this arrangement
constituted the sale of goods over $500, the court held that the
Statute of Frauds applied. Id. at 359. Plaintiff contended
that the statute's requirements were met by plaintiff's purchase

invoices, which reflected all the terms of the contract with the

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exception of its duration. Id. at 362. The court disagreed,
holding that the invoices did not establish a contract, as the
invoices were "authored by plaintiff and none of the invoices
contain the signature of defendant--the party to be charged."
Id. at 363.

Here, the CISG, as ratified by Argentina, mandates the
existence of a written contract to enforce an agreement for the
sale of goods. The general purpose of requiring a signed
memorandum in writing is to protect against “fraudulent claims.”

See Coldwell Banker Commercial/Feist & Feist Realty Corp. v.

 

Blancke P.W., LLC, 368 N.J. Super. 382, 399 (App. Div. 2004).

 

Thus, under both the CISG and our domestic law, the invoices
presented by Forestal are insufficient to satisfy the
requirement for a contract in writing.

In support of its damages claim for breach of contract,
Forestal presents its unilaterally created invoices, not signed
by Daros, and devoid of any indication that the invoices are
writings in confirmation of the alleged contract. See Mateo
Cert., 916. Moreover, Forestal has not even identified which of
the 114 invoices it produced remain unpaid by Daros. See Mateo
Cert., Exhibit B, 261:21-25. As such, even under United States
domestic law, Forestal’s claim for breach of contract is barred
by the absence of a written contract. Even if the invoices

constituted contracts, Forestal’s claim still fails, as the

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invoices are unsigned by the party to be charged -Daros—and do

not indicate that they are writings in confirmation of an

alleged oral contract. See Mateo Cert., Exhibit E.
Accordingly, the Court should grant Daros’s motion for

summary judgment.

B. The Zanek Certification Upon Which Forestal’s Claim Is
Based, Is Incomplete and Insufficient.

In addition to unsigned invoices, Forestal relies upon the
certification of Argentinean accountant Gricelda Beatriz Zanek
(“Zanek Certification”) to support its claim against Daros for
$419,553.17. Forestal requested that Gricelda Beatriz Zanek
(“Zanek”), Forestal’s in-house accountant, review its books and
records and certify as to amounts Daros owed Forestal. The
Zanek Certification purports to substantiate the outstanding
balance claimed by Forestal. See Mateo Cert., Exhibit A, 129:7-
15, Exhibit B, 262:22-25, 263:1-9. The certification, however,
is fatally flawed, as it admittedly relies on incomplete data,
and fails to consider key information that would assist the
trier of fact in determining what, if any, amount Daros owes
Forestal. Further, aside from Forestal’s invoices, none of the
documents that form the basis of Zanek’s Certification have been

produced by Forestal in discovery. See Mateo Cert., 415.

Specifically, Zanek’s Certification states that she

reviewed Forestal’s “book entries in the accounts Sales to the

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External Market and Debtors by Sales to the External Market
(copy of invoices, notes of credits, receipts), General Daily
Ledger...” and other financial information. See Mateo Cert.,
Exhibit D, B.1. Zanek specifically explains, however, that her
review of Forestal’s documents was incomplete and did not
include certain financial information, such that Zanek was
unable “to assert that the declared Income by Sales to the
External Market included all of the stated operations during the
examined period.” See Mateo Cert., Exhibit D, B.2. (emphasis in
original). Indeed, Forestal’s claimed transactions with Daros
would have involved sales to the external market, as Forestal is
an Argentinean entity and Daros is a United States entity.
Zanek’s failure to review Income by Sales to the External Market

at the very least renders Zanek’s Certification incomplete.

Moreover, Zanek’s suitability as a credible witness is
doubtful. Forestal is currently involved as a defendant in
separate litigation in Argentina where it attempted to introduce
testimony by Zanek to support its defenses. Plaintiff in that
litigation successfully moved to have Zanek disqualified as a
witness. See Mateo Cert., Exhibit F. The Argentinean court
hearing the matter granted the motion, disqualifying Zanek as a
witness. See Mateo Cert., Exhibit F. Thus, Zanek’s

impartiality and credibility are questionable. In fact, none of

the assertions contained in her certification have been subject

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to cross-examination, as she has not been offered by Forestal as

a witness. See Mateo Cert., 914.

In an effort to conduct its own examination of what
amounts, if any, Daros owed Forestal, Daros repeatedly
requested-- through interrogatories, document requests and
deposition notices-- that Forestal produce its financial books,
records, ledgers and any other information that support
Forestal’s claimed damages. See Mateo Cert., 13, 8. Despite
these repeated requests, however, Forestal failed to produce any
of its books, records and ledgers, and failed to produce Zanek
as a witness, despite testifying that it based its claim on
Zanek’s review of its financial documents. See Mateo Cert.,
9§14, 15. In fact, when Daros asked P. Vinader, President and
CEO of Forestal, why Forestal had not produced its financial
books and records, P. Vinader responded that those documents
could only be produced “under the reguest of a [United States]
judge” to an Argentinean judge, and that, further, making copies
of those documents was “not practical because..the pages are

enormous.” See Mateo Cert., Exhibit A, 172:7-25; 173:1-8.

To further test the veracity of the statements contained in
Zanek’s Certification, Daros retained the services of Grant
Thornton, a very respected accounting, tax and business advisory

organization. See Genaldi Expert Report. Counsel for Daros

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asked Allen J. Genaldi (“Genaldi”), a Director in Grant
Thornton’s Forensic Accounting and Investigative Services
practice, to review and analyze the Zanek Certification as well
as the schedules accompanying the Zanek Certification. See
Mateo Cert., 919, Genaldi Expert Report, {3. Upon his review of
the Zanek Certification, Genaldi concluded that “the Zanek
Report is flawed and cannot be relied upon.” See Genaldi Expert
Report, (5. Namely, the Genaldi Expert Report finds that “the
work performed by Ms. Zanek does not conform to certain
standards set forth by the [American Institute of Certified

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Public Accountants] in the following key areas...--’

e Zanek’s Certification fails to identify the applicable
auditing standards under which Zanek performed her
review;

e Zanek’s Certification is inconsistent with attestation
or consulting services standards;

e Zanek’s work does not conform to United States
standards;

e® Zanek did not meet the professional standard of care
in preparing her certification; and

e Zanek did not meet the “sufficient relevant data”
standard in preparing her certification.

See Genaldi Expert Report, 6.

The Genaldi Expert Report explains that the Zanek

Certification “fails to establish the sufficiency of data used

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to support the ‘certification.’” See Genaldi Expert Report,
g11. Specifically, the Genaldi Expert Report questions Zanek’s
analysis of Forestal’s records of its sales to the external
market, and finds the data relied upon by Zanek insufficient.
See Genaldi Expert Report, (11. The Genaldi Expert Report
highlights Zanek’s admission that her “task of reviewing did not
allow [her] to assert that the declared Income By Sales to the
External Market included all of the stated operations during the
examined period,” and concludes that Daros, as an alleged
external market customer, “may be directly impacted by this
disclosure.” See Genaldi Expert Report, 11. The Genaldi
Expert Report further concludes that it is Zanek’s failure to
examine all of the relevant information as to any amount owed by
Daros that may lead to “false conclusions, rendering the work
performed [by Zanek] insufficient for use as a basis for
conclusions and judgments.” See Genaldi Expert Report, {11l.

The Genaldi Expert Report also analyzes the schedules
attached to the Zanek Certification, which were the only
documents attached to the certification to purportedly buttress
Zanek’s findings. See Mateo Cert., Exhibit D. Genaldi notes in
his Report that he was unable to confirm Zanek’s findings “based
solely on the information provided in those schedules...that
would independently confirm or impeach Ms. Zanek’s basis for her

conclusion about the amount owed” by Daros. See Genaldi Expert

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Report, 413. Ultimately, the Genaldi Expert Report finds the
Zanek Certification is “inadequate” because the certification
fails to contain a “complete statement of all opinions to be
expressed and the basis and reasons thereof.” See Genaldi Expert
Report,@13. (internal quotations omitted.)

Thus, Forestal’s reliance on a flawed and incomplete
accounting of its books and records further serves to undermine
its claim for damages.

Cc. The Court Should Grant Daros’s Motion for Summary

Judgment Because Forestal Has Failed To Establish the
Existence of a Genuine Issue For Trial.

“The plain language of Rule 56(c) mandates the entry of
summary judgment after adequate time for discovery and upon
motion, against a party who fails to make a showing sufficient
to establish the existence of an element essential to that

party's case, and on which that party will bear the burden of

proof at trial." Celotex Corp. v. Catrett, 477 U.S. 317, 322,

 

106 S.Ct. 2548, 2552, 91 L.Ed.2d 265 (1986). Forestal has not
and cannot establish specific facts showing that there is a

genuine issue for trial here. See Connors v. Fawn Mining Corp.,

 

30 F.3d 483, 489 (3d Cir. 1994) (internal citations omitted).
Simply stated, Forestal has wholly failed to meet its burden of
proof and summary judgment in favor of Daros, is, thus,

warranted.

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Plaintiff’s original complaint against Daros was filed in
2002. After more than three years of litigation and the
completion of discovery, Forestal has failed to produce evidence
sufficient to establish a prima facie claim for breach of
contract. Forestal’s claim rests entirely on unsigned invoices
created by Forestal and on a deficient certification - neither
of which identifies which of the invoices produced by Forestal
are unpaid, due and owing. Forestal’s claim therefore fails as
a matter of law, as there are no genuine or material facts in
dispute and no evidence that would permit a rational fact finder
to rule in Forestal’s favor. As such, Daros should be granted

summary judgment.

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CONCLUSION

Forestal’s claim not only fails under the CISG, but also
fails as a matter of fact because it is based on an incomplete
and fatally flawed accounting of Forestal’s books and records as
they relate to Daros. Where, as here, the evidence does not
present a genuine issue of material fact, summary judgment is
warranted. As such, Daros respectfully requests that this Court
enter summary judgment in favor of Daros and against Forestal,

and dismiss Forestal’s Complaint with prejudice.

lol Daniel Mateo
Daniel Mateo (DM-3673)
REED SMITH LLP

Attorneys for Defendant
Daros International, Inc.

 

Dated:

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